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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

XIAOMI CORPORATION, et al.,                     :
                                                :
         Plaintiffs,                            :      Civil Action No.:     21-280 (RC)
                                                :
         v.                                     :      Re Document No.:      14, 18
                                                :
DEPARTMENT OF DEFENSE, et al.,                  :
                                                :
         Defendants.                            :

                                           ORDER

  GRANTING PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION; GRANTING PLAINTIFFS’
             MOTION FOR LEAVE TO FILE SUPPLEMENTAL DECLARATION

         For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Plaintiffs’ motion for preliminary injunction (ECF No. 14) is

GRANTED, and Plaintiffs’ unopposed motion for leave to file supplemental declaration (ECF

No. 18) is GRANTED.

         It is hereby ORDERED that Defendants are thereby enjoined from implementing or

enforcing the Department of Defense’s designation of Plaintiff Xiaomi Corporation as a

Communist Chinese military company, and the resulting restrictions pursuant to Executive Order

13959.

         SO ORDERED.


Dated: March 12, 2021                                           RUDOLPH CONTRERAS
                                                                United States District Judge
